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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION


 UNITED STATES OF AMERICA,                                                             Plaintiff,

 v.                                                           Criminal Action No. 3:23-cr-61-DJH

 MARKUS STILLWELL (1),
 TEAIRA STOKES (2), and
 WILMA HAMMOND (3),                                                                  Defendants.

                                            * * * * *

                            MEMORANDUM OF CONFERENCE

       A telephonic status conference was held in this matter on February 20, 2024, with the

following counsel participating:

       For the United States:         Alicia P. Gomez
       For Defendants:                John Casey McCall (1)
                                      Patrick J. Renn (2)
                                      Rob Eggert (3)

The Court and counsel discussed the procedural posture of the case. The government reported that

discovery is ongoing. The matter remains set for trial on June 3, 2024. (See Docket No. 52) All

attendant pretrial deadlines likewise remain set. (See id.)

       A further status conference will be set by subsequent order.

       February 20, 2024




Court Time: 00/05
Court Reporter: Dena Legg

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